        Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 1 of 27 Page   IDFIL=D
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AO 91 (Rev. 1 I /11) Criminal Complaint                                                                              ~C ~ 9 2oia
                                      UNITED STATES DISTRICT COURT                                                           OF CALIFORNIA
                                                                                                                                   DEPUTY
                                                                 for the
                                                    Central District of California

                  United States of America                          )

                        Byungsu Kim,                                )      Case No.     ~                ~~~
                      Youngin Back, and                             ~
                        Bong Jun Kim                                1


                            Defendants)


                                                 CRIMINAL COMPLAINT
          1,the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the dates)of                    October 29, 2018               in the county of            Los Angeles            in the
      Central           District of          California_        ,the defendants) violated:
             Code Section                                                     Offense Description
16 U.S.C. 3372(a)(2)(B),(a)(4)                  Illegally attempting to export plants to a foreign country in violation of state
                                                law or regulation




          This criminal complaint is based on these facts:
On or about October 29, 2018, defendants Byungsu Kim, Youngin Back, and Bong Jun Kim did knowingly attempt to
export plants taken, possessed, transported or sold in violation of a state law or regulation that protects plants, namely,
California Code of Regulations § 4306(a) and/or California Penal Code § 384a(a), when they attempted to export to
Korea plants that they had illegally harvested from public lands in California.


         ~ Continued on the attached sheet.



                                                                                              Complainan!'s signature

                                                                                      Laura Chee, USFWS Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                 Judge's signature

City and state:                     Los Angeles, California                        U.S. Magistrate Judge Michael R. Wilner
                                                                                              Printed name and title
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 2 of 27 Page ID #:2




     I, Laura Chee, being duly sworn, declare and state as

follows:

                      I.   PURPOSE OF AFFIDAVIT

     1.     This affidavit is made in support of a criminal

complaint against and arrest warrants for BYUNGSU KIM (~~KIM"),

YOUNGIN BACK (~~BACK"), and BONG JUN KIM (~~BONG JUN KIM") for a

violation of 16 U.S.C. ~~ 3372(a)(2)(B), (a)(4) (illegally

attempting to export plants to a foreign country in violation of

a state law or regulation, namely, California Code of

Regulations ~ 4306(a) and/or California Penal Code ~ 384a(a)).

     2.     This affidavit is also made in support of an

application for a warrant to search the three digital devices

(the ~~SUBJECT DEVICES") seized from KIM and BONG JUN KIM on or

about October 29, 2018 by the California Department of Fish and

Wildlife.   The requested search warrant seeks authorization to

seize any data on the SUBJECT DEVICES that constitute evidence

or fruits of violations of 16 U.S.C. ~~ 3372(a)(2)(B), (a)(4)

(illegally attempting to export plants to a foreign country in

violation of state law), 16 U.S.C. § 3372(d)(2) (making or

submitting false records regarding plants transported in

interstate or foreign commerce), 18 U.S.C. § 554 (smuggling

goods from the United States), and 18 U.S.C. ~ 371 (conspiracy)

(the ~~Subject Offenses"), and any SUBJECT DEVICE which is itself

or which contains evidence, contraband, fruits, or

instrumentalities of the Subject Offenses, and forensic copies

thereof.


                                   1
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 3 of 27 Page ID #:3




     3.      The SUBJECT DEVICES are identified in Attachment A to

the search warrant application.     The list of items to be seized

is set forth in Attachment B to the search warrant application.

Attachments A and B are incorporated herein by reference.

     4.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrants and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                 I2. BACKGROUND OF SPECIAL AGENT CHEE

     5.      I am a Special Agent ("SA") with the Department of the

Interior, United States Fish and Wildlife Service (~~USFWS"),

Office of Law Enforcement, stationed in Torrance, California.         I

am an investigative law enforcement officer of the United States

within the meaning of Title 16, United States Code, Section

3375, and a federal law enforcement officer within the meaning

of Rule 41(a) of the Federal Rules of Criminal Procedure.        I

have been so employed since August 2002.

     6.   As a SA, I have read, studied, and received training

on various laws enforced by the USFWS.      During my employment

with the USFWS, I have conducted and participated in

investigations of violations of federal wildlife and plant law.

These inquiries have included investigations of the illegal
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 4 of 27 Page ID #:4




domestic and international trade of wildlife and plants,

including those used in the commercial plant trade.

                      II2. STATUTORY FRAMEWORK

     7.   Title 16, United States Code, Section 3372(a)(2)(B)(i)

provides, inter alia, that it is unlawful for any person to

export, transport or acquire, in interstate or foreign commerce,

any plant taken, transported or sold in violation of any state

law or regulation that protects plants or that regulates the

taking of plants from a park, or the taking of plants without,

or contrary to, required authorization.      Title 16, United States

Code, Section 3372(a)(4) provides, inter alia, that it is

unlawful for any person to attempt to commit any act described

in Section 3372(a) (2)(B) (i).

     8.   Title 14, California Code of Regulations, Section

4306(a), states as follows:

     No person shall willfully or negligently pick, dig up,
     cut, mutilate, destroy, injure, disturb, move, molest,
     burn, or carry away any tree or plant or portion
     thereof       except in specific units when
     authorization by the Department       is posted at the
     headquarters of the unit to which the authorization
     applies. Any collecting allowed by authority of this
     section may be done for personal use only and not for
     commercial purposes.

     9.   Section 384a(a)(2) of the California Penal Code

prohibits any person from willfully or negligently cutting or

removing plant material that is growing upon public land without

a written permit.   Section 384a(a)(3) prohibits any person from

knowingly selling, or offering or transporting for sale, plant

material that is cut or removed in violation of Section 384a(a).




                                   3
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 5 of 27 Page ID #:5




                   IV. SUMMARY OF PROBABLE CAUSE

     10.   In October 2018, KIM, BACK, and BONG JUN KIM arrived

in Los Angeles from their native Korea and drove to remote

coastal areas in Northern California.     As they later admitted,

their goal was to secretly remove live Dudleya plants from the

ground and ship the plants to Korea, where the plants are prized

commodities.   From October 14 to October 25, 2018, wardens from

the California Department of Fish and Wildlife ("CDFW")

surveilled KIM, BACK, and BONG JUN KIM removing Dudleya plants

from public lands along the coast of Northern California.        KIM,

BACK, and BONG JUN KIM then drove with the plants to a nursery

near San Diego.   On October 29, 2018, KIM, BACK, and BONG JUN

KIM brought Dudleya plants to an exporter in Compton, where they

attempted to ship the plants to Korea.

                  V.   STATEMENT OF PROBABLE CAUSE

     11.   Based on my review of reports from the USFWS and CDFW

regarding the events described below, my conversations with

USFWS agents and CDFW wardens, and my own observations and

knowledge of the investigation, I have learned the following:

    A.     KIM's Arrival in the United States on October 4, 2018

     12.   In or about September 2018, CDFW Special Operations

Unit ("SOU") Warden Savannah Morgan notified me that she

suspected that KIM was involved with exporting large amounts of

Dudleya plants from the United States to Korea.

     13.   Dudleya plants are highly valuable in Asian markets.

Native Dudleya plants from coastal habitats in Northern

California are particularly valuable, as they are difficult to
 Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 6 of 27 Page ID #:6




propagate in nurseries because of their slow growth rates.           For

this reason, smugglers are known to harvest wild, living Dudleya

plants from the ground in Northern California and export the

live plants to Asian markets.

     14.   On or about September 11, 2018, I spoke with United

States Department of Homeland Security, Homeland Security

Investigations (~~HSI") Special Agent Binh Dang and requested a

"lookout" for KIM.    From my experience, I know that a lookout

will notify the requesting officer when the targeted subject is

travelling inbound into the United States from another country.

     15.   On or about October 4, 2018, I was notified by U.S.

Customs and Border Protection ("CBP") Officer Alan Galdamez that

KIM had arrived at Los Angeles International Airport (~~LAX")

from Korea with another individual named Youngin BACK.           I asked

Officer Galdamez to question KIM about his purpose of travel and

to obtain copies of anything related to plants.        Officer

Galdamez told me that KIM said that he was going to Mexico and

would return in a couple of weeks.      At the time, KIM had not

made a return reservation.

     16.   On or about October 26, 2018, I received the paperwork

obtained by Officer Galdamez during the interview of KIM on or

about October 4, 2018.     From my review of the paperwork, I

learned the following:

           a.    The paperwork included an invoice for the

purchase of plants.    Near the top of one of the documents, it

stated "New order: Neo/Saman-S.Korea," for delivery in early
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 7 of 27 Page ID #:7




2019 only, and listed numerous plant species, amounts, prices,

and totals.

           b.    There was one United States Department of

Agriculture (~~USDA") Phytosanitary Certificate (~~Phyto"), No. F-

C-06073-07695410-7-N, issued from San Diego and inspected on or

about September 12, 2018, for the Secret Garden Nursery in

Vista, California.l    From inspecting the USDA Phyto, I learned

the following:

                 i.    The USDA Phyto identified the name and

address of the exporter as the Secret Garden Nursery, located at

1850 Warmlands Avenue in Vista.

                 ii.   The declared name and address of the

consignee was Saman Trading, 5F 63, Banghwadaero 33-gill,

Kangseo-gu, Seoul 157-811, Republic of Korea.

                 iii. The declared name and quantity of the

produce was 5,731 plants (501 pounds) of Dudleya cuttings in

approximately 101 cardboard boxes.

                 iv.   The place of origin was San Diego County.

                 v.    The declared means of conveyance was air

freight.




     1 On or about October 5, 2018, I spoke with USDA Inspector
Aaron Nishimoto, who told me that USDA Inspectors issue
Phytosanitary Certificates (~~Phytos") and allow County
Agriculture Inspectors to issue USDA Phytos. I know through my
experience that USDA Phytos are issued for agricultural items
being exported to other countries. USDA Phytos certify that the
items have been inspected and are free from the quarantine pests
specified by the importing country. Additionally, from my
experience, I know that some importing countries require USDA
Phytos upon entry into their country.
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 8 of 27 Page ID #:8




                vi.   The USDA Phyto was issued on or about

September 12, 2018 by the authorized officer Saiqa F. Jawed.

     17.   Officer Galdamez later told me that KIM had declared

approximately $20,000 and that KIM had told Officer Galdamez

that he was going to Mexico to purchase plants and export them

to the United States and then to Korea and China.       Officer

Galdamez also told me that when he was conducting the inspection

of KIM, he observed paperwork with a nursery name and recalled

that KIM had told him that the nursery assisted him with

importing plants into the United States from Mexico.

     B.    KIM's History of Travel to the United States

     18.   On or about October 10, 2018, I met with CBP Officer

Jose Monroy in the Passenger Analysis Unit (~~PAU") at LAX.

Officer Monroy told me that KIM would be arriving at LAX from

Mexico on or about October 11, 2018.     I provided this

information to Warden Morgan.     Based on Officer Monroy's

preliminary research on KIM, I learned that KIM had travelled to

the United States from Korea more than 50 times since 2009 and

more than 30 times since 2013.     I also learned the following

information:

           a.   On or about February 19, 2013, KIM had 80 pieces

of propagative/plant material upon entry into the United States

that was seized by the CBP.     KIM declared the plants and also

brought ~~bogus" USDA Phytos with him to enter the plants into

the United States.




                                   7
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 9 of 27 Page ID #:9




           b.   On or about March 29, 2013, KIM told the CBP that

he was in the United States to conduct cactus business for one

week.

           c.   On or about April 27, 2013, KIM told the CBP that

he was a florist and importer of goods from Mexico into Korea.

KIM had approximately $16,232 that he did not declare at the

time of entry into the United States, for which he paid a

penalty.

           d.   On or about August 16, 2013, KIM told the CBP

that he was in the United States to visit a nursery and that he

owned Baek Woon Nong Won nursery in Korea.      He told the CBP that

he planned to stay in the United States for two weeks.

           e.   On or about July 27, 2015, KIM self-referred

himself to complete a FINCEN report2 and entered the United

States with approximately $13,500.

           f.   On or about March 14, 2017, KIM was inbound from

Mexico and told the CBP that he purchased flowers in Mexico

which were shipped to Korea.     At the time, KIM also had a pair

of gloves that had soil on it.

           g.   On or about April 4, 2017, KIM self-referred

himself to complete a FINCEN report and entered the United

States with approximately $30,000.




     2 Based on my training and experience, I know that the
Financial Crimes Enforcement Network (~~FINCEN") is a bureau of
the United States Department of the Treasury that collects and
analyzes information about financial transactions in order to
combat domestic and international money laundering and other
financial crimes.
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 10 of 27 Page ID #:10




     C.      Surveillance of KIM, BACK, and BONG JUN KIM

     19.     Based on my conversations with Warden Morgan and my

review of her written reports, I learned that, on or about

October 11, 2018, the CDFW SOU team began conducting

surveillance of KIM upon his arrival at LAX from Mexico.         During

their surveillance, the wardens saw or learned the following:

             a.    On or about October 11, 2018, KIM, along with

BACK, rented a Dodge Caravan at Alamo Rent-A-Car and drove to a

location in Vista, California (later identified as the Secret

Garden Nursery at 1850 Warmlands Avenue).

             b.    On or about October 12, 2018, the wardens saw

that the Dodge Caravan contained rubber totes, empty backpacks,

and boxes.

             c.    On or about October 12, 2018, KIM and BACK picked

up an individual (later identified as BONG JUN KIM) at LAX.

After meeting with BONG JUN KIM, KIM rented a White Kia at Avis

Rent-A-Car.       The two vehicles and three individuals drove north

to stay at a hotel that evening.

             d.    On or about October 13, 2018, KIM, BACK, and BONG

JUN KIM stayed at a hotel in Crescent City overnight.

           e.      On or about October 14, 2018, KIM, BACK, and BONG

JUN KIM harvested numerous plants at DeMartin State Beach in

Klamath, California and Del Norte Coast Redwoods State Park.

           f.      KIM, BACK, and BONG JUN KIM appeared to the

wardens to be attempting to conceal their harvesting, due to

their tendency to hide from public view.       The wardens saw KIM,
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 11 of 27 Page ID #:11




BACK, and BONG JUN KIM placing Dudleya plants into their

backpacks.

              g.     On or about October 15, 2018, KIM, BACK, and BONG

JUN KIM parked at DeMartin State Beach, where a National Park

Service (~~NPS") vehicle also was parked.        KIM, BACK, and BONG

JUN KIM parked, got out, returned to their vehicle shortly

thereafter, and parked again.        Once KIM, BACK, and BONG JUN KIM

saw the NPS vehicle leave, they got out of their car and

proceeded to collect more plants.          A large pile of freshly

collected Dudleya plants grew as the day progressed.

              h.     On or about October 16, 2018, KIM, BACK, and BONG

JUN KIM arrived at the DeMartin State Beach again, wearing

backpacks.         They harvested additional plants, which they

collected in piles.

     20.      Based on the wardens' surveillance and information

from a GPS tracker, KIM, BACK, and BONG JUN KIM travelled to

DeMartin State Beach on or about October 17, 18, 19, and 20,

2018.

        21.   On or about October 22, 2018, the wardens followed

KIM, BACK, and BONG JUN KIM from Northern California south to

the Secret Gardens Nursery in Vista.          The wardens saw totes

being emptied of Dudleya plants and saw Dudleya plants on

pallets.

        22.   On or about October 23, 2018, the wardens followed

KIM, BACK, and BONG JUN KIM from Southern California north to

Sonoma County.




                                      10
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 12 of 27 Page ID #:12




     23.   On or about October 24, 2018, the wardens saw KIM,

BACK, and BONG JUN KIM go to Russian Gulch State Park in

Mendocino County wearing backpacks, and watched them harvest

Dudleya plants.    The wardens also saw them using hand-held

radios to communicate.     KIM, BACK, and BONG JUN KIM appeared to

have full backpacks at the end of their visit.

     24.   On or about October 25, 2018, the wardens saw KIM,

BACK, and BONG JUN KIM return to Russian Gulch State Park with

empty backpacks and return to an area where the wardens had

watched them harvest Dudleya plants the previous day.        The

wardens saw them walking towards the parking lot with large and

bulky backpacks.

     25.   On or about October 25, 2018, the wardens saw KIM,

BACK, and BONG JUN KIM return to their vehicle and drive to

Vista for the evening.     The next day, the wardens saw KIM, BACK,

and BONG JUN KIM drive to the Secret Gardens Nursery in Vista.

A warden observed them unload items from their vehicle and walk

toward the greenhouse out of view.

     D.    USDA Phytosanitary Certificate Information for the
           Secret Garden Nursery

     26.   On or about October 22, 2018, I spoke with Supervisor

Agriculture Inspector Robert Roma and Inspector Saiqa Javed from

the County of San Diego's Agriculture, Weights and Measures

department (~~County Agriculture").     Inspector Javid's name was

listed in the USDA Phyto, dated September 12, 2018, identified

during KIM's interview at LAX on or about October 4, 2018 by CBP




                                   11
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 13 of 27 Page ID #:13




Officer Galdamez.     Based on our conversation, I learned the

following:

             a.   County Agriculture issues USDA Phytos for

licensed nurseries.     In 2017 and 2018, County Agriculture issued

approximately 22 USDA Phytos to the Secret Garden Nursery.

             b.   Applications for USDA Phytos are entered into the

Phytosanitary Certificate Issuance Tracking ("PCIT") database

and then an appointment for an inspection is made.

             c.   The Secret Garden Nursery had two locations:      one

at 14643 Vesper Road in Valley Center, California and one at

1850 Warmlands Avenue in Vista.

           d.     An individual known as ~~Neo" (later confirmed to

be KIM) typically was the person who attended the inspections on

behalf of the Secret Garden Nursery.      ~~Neo" always paid in cash.

Inspector Javid did not know much more about ~~Neo" because "Neo"

primarily spoke Korean.     Inspector Javid was primarily in

contact with E.S., the owner of record for the Secret Garden

Nursery.

     E.    CBP Export Records for the Secret Garden Nursery

     27.   On or about October 23, 2018, I met with CBP Officer

Lionel Andrade at CBP's International Mail Facility in Carson.

I learned that the Secret Garden Nursery sent multiple shipments

(from both of its locations) to Max Cargo (a forwarding agent

located at 1250 West Artesia Boulevard in Compton) to Saman

Trading in Seoul, Korea, the ultimate consignee.

     28.   After meeting with Officer Andrade, I compared the

USDA Phytos and the dates of KIM's flights and the exports for


                                   12
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 14 of 27 Page ID #:14




the Secret Garden Nursery.        I learned that there were at least

three USDA Phytos for the Secret Garden Nursery with the same or

similar dates of export from Max Cargo within time frames that

KIM travelled:

     DATE OF ISSUE OF           DATE OF MAX     DATES OF KIM'S STAYS
        USDA PHYTO           CARGO'S SHIPMENT   IN THE UNITED STATES
                                  TO KOREA
          9/12/2018              9/12/2018         8/28/18 - 9/13/18
          7/20/2018              7/20/2018         7/11/18 - 7/23/18
           6/8/2018               6/8/2018         5/15/18 - 6/11/18


     F.      Surveillance of KIM, BACK, and BONG JUN KIM on October
             29, 2018

     29.     On or about October 26, 2018, I spoke with San Diego

County Agriculture employee Charity (LNU), who told me that

"Neo" had just came into her office to make an inspection

appointment for Monday, October 29, 2018 at 8:30 a.m. and had

requested assistance with preparing a new license with County

Agriculture.

     30.     On or about October 29, 2018, CDFW wardens, SA Dang,

and I conducted surveillance of KIM, BACK, and BONG JUN KIM.           I

learned the following, either through my own observations or my

review of Warden Morgan's report:

             a.      At approximately 7:45 a.m. on or about October

29, 2018, KIM left his hotel and went to the County Agriculture

office, apparently to obtain help completing the USDA Phyto

paperwork.        He then returned to the hotel.

             b.     At approximately 8:20 a.m., KIM, BACK, and BONG

JUN KIM left their hotel and drove to the Secret Garden Nursery

in Vista.


                                     13
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 15 of 27 Page ID #:15




             c.   At approximately 9:23 a.m., the County

Agriculture inspector arrived at the Secret Garden Nursery in

Vista and conducted the inspection relating to the USDA Phyto.

     31.     On or about October 29, 2018, Supervisor Roma provided

me with a copy of the USDA Phyto that was prepared for KIM's

shipment that day.     I reviewed the document and learned the

following:

             a.   The USDA Phyto identified the name and address of

the exporter as the Secret Garden Nursery, located at 1850

Warmlands Avenue in Vista.

             b.   The declared name and address of the consignee

was Saman Trading, 5F 63, Banghwadaero 33-gill, Kangseo-gu,

Seoul 157-811, Republic of Korea.

             c.   The name and quantity of the produce declared was

1,397 plants (259 pounds) of Dudleya cuttings in 37 cardboard

boxes.

           d.     The place of origin was San Diego County.

           e.     The declared means of conveyance was air freight.

           f.     The USDA Phyto was issued on or about October 29,

2018 by the authorized officer, Saiqa F. Javed.

     G.    Interviews of KIM, BACK, and BONG JUN KIM on October
           29, 2018

     32.   On or about October 29, 2018, after the inspection

described above, my team and I continued our surveillance of

KIM, BACK, and BONG JUN KIM as they drove to Max Cargo at 1250

West Artesia Boulevard in Compton.




                                   14
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 16 of 27 Page ID #:16




     33.     Based on a report prepared by Warden Morgan, I learned

the following:

             a.   The wardens saw the vehicle with KIM, BACK, and

BONG JUN KIM inside it back into a loading ramp beside a large

roll-up door at Max Cargo.     KIM, BACK, and BONG JUN KIM unloaded

boxes of what appeared to be Dudleya plants from their vehicle.

             b.   Pursuant to a state search warrant that Warden

Morgan had obtained, she examined a few of the boxes that were

offloaded by KIM, BACK, and BONG JUN KIM.       She learned that the

boxes contained Dudleya plants and were labeled "Rush" and "Live

Plants."

             c.   Pursuant to the search warrant, the wardens

seized approximately 3,715 Dudleya plants (664 pounds) in 34

boxes at Max Cargo.

             d.   After KIM, BACK, and BONG JUN KIM delivered the

plants to Max Cargo and left (i.e., just prior to the execution

of the search warrant), the wardens stopped their vehicle and

asked them to get out.

             e.   After they were stopped, I conducted recorded

interviews of all three individuals, with the assistance of

Warden Morgan, SA Dang, and HSI SA Sam Ahn.       SA Ahn translated

between English and Korean during the interviews.

     34.     During his Mirandized interview, BACK said the

following:

             a.   BACK travelled to the United States with his

friend KIM to sightsee and visit nurseries.       KIM paid for BACK's




                                   15
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 17 of 27 Page ID #:17




airplane ticket and hotel fees.      BACK came to the United States

as KIM's employee.

             b.   BACK and KIM went to different areas to collect

plants from the wild.     BACK knew that they were going to collect

the plants and that the plants would be sent to Korea.         BACK and

KIM planned to collect the plants and bring them to Max Cargo,

and then possibly go to KIM's nursery in Korea.

             c.   BACK knew that it was illegal to collect the

plants because KIM had told him.        KIM had collected plants in

the United States previously.

     35.     During his Mirandized interview, BONG JUN KIM said the

following:

             a.   KIM had two nurseries, one in Korea and one in

California.

             b.   On or about October 9, 2018, KIM called him and

asked him to assist with his nursery.       KIM was going to pay him

$1,700 to assist with his nursery.       KIM paid for his airplane

ticket and hotel fees.

           c.     On or about October 11, 2018, BONG JUN KIM

arrived in the United States, where he began collecting plants.

KIM told him that it was illegal to collect the plants.         They

used radios to communicate if someone approached them while they

were collecting plants.

     H.    Arrests of KIM, BACK, and BONG JUN KIM and Seizure of
           Their Phones on October 29, 2018

     36.   Based on my conversations with Warden Morgan, my

review of her reports and the arrest warrants issued to her on



                                   16
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 18 of 27 Page ID #:18




or about October 29, 2018 in Los Angeles County Superior Court,

and information provided to me by the Del Norte County Superior

Court on or about December 6, 2018, I learned the following:

           a.   CDFW wardens arrested and booked KIM, BACK, and

BONG JUN KIM on or about October 29, 2018 following the

interviews described above.     They each were arrested for

violations of California Penal Code §§ 182(a)(1) (conspiracy)

and 384(a)(2) (willful or negligent cutting, destroying,

mutilation, or removal of plant material that is growing upon

public land).   They are currently being prosecuted in the Del

Norte County Superior Court in Case Nos. CRS2018-9581/1 (BONG

JUN KIM), CRS2018-9581/2 (KIM), and CRS2018-9581/3 (BACK).

           b.   Pursuant to a state search warrant issued to

Warden Morgan on or about October 26, 2017 in Los Angeles County

Superior Court, she seized the following three phones belonging

to KIM and BONG JUN KIM at the time of their arrests on or about

October 29, 2018:

                i.    An Apple iPhone, model A1660, serial

number F7ISQURZHG75, belonging to KIM;

                ii.   An Apple iPhone, model MQAF2AA/A, serial

number DNPVVVZ9JCL8, belonging to KIM; and

                iii. A Samsung Model SM-G930S, serial

number R39H606R91, belonging to BONG JUN KIM.

           c.   The wardens and their local law enforcement

colleagues have begun to search the SUBJECT DEVICES pursuant to

the state warrant.    I have not relied on their findings to

articulate probable cause in this affidavit.       I am seeking a


                                   17
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 19 of 27 Page ID #:19




federal search warrant for the SUBJECT DEVICES prior to

independently investigating the contents of the SUBJECT DEVICES.

           d.    As of November 26, 2018, KIM, BACK, and BONG JUN

KIM were all released on bail awaiting their next hearings in

Del Norte County.

           e.    On or about December 14, 2018, I received the

SUBJECT DEVICES from CDFW in West Sacramento, California.         The

SUBJECT DEVICES are now in the custody of USFWS in Torrance,

California.

     I.    Analysis of the Seized Dudleya Plants

     37.   On or about December 11, 2018, I reviewed findings

prepared by Stephen McCabe, a Research Consultant for the

University California of Santa Cruz, regarding his analysis of

the 34 boxes of Dudleya plants that were seized from Max Cargo

on or about October 29, 2018.     McCabe concluded as follows:

           a.    The Dudleya plants that McCabe evaluated appeared

to be collected from the wild, as opposed to cultivated, based

on a number of factors including their size, number, apparent

age, type of damage to the roots, type of soil on the roots,

incomplete removal of leaves from the stems, debris on the

leaves, and the appearance of the leaves.       The plants' roots

showed no signs of the morphology one would expect of container-

grown plants.

           b.    After review of the 34 boxes of Dudleya plants,

McCabe identified that the plants in approximately 24 of the

boxes appeared to be Dudleya farinosa.       McCabe surmised that
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 20 of 27 Page ID #:20




those plants most likely were from Del Norte County (as opposed

to Russian Gulch).

             c.   Nine of the other boxes appeared to contain a mix

of Dudleya plants.     The white ones were very likely to be

Dudleya farinosa.     The green ones were either the non-waxy form

of Dudleya farinosa, Dudleya caespitosa, or Dudleya farinosa X

Dudleya caespitosa, but most likely were Dudleya caespitosa.

McCabe surmised that these plants most likely were from Russian

Gulch (as opposed to Del Norte County).

     38.     Warden Morgan conducted a valuation of the Dudleya

plants seized at Max Cargo on or about October 31, 2018.         Based

on the prices listed on a Korean website

(http://en.explant.co.kr) for Dudleya farinosa, she concluded

that the value of the seized plants in Korea would be

approximately $602,950.

     J.    KIM, BACK, and BONG JUN KIM's Lack of a Permit to
           Harvest or Export Dudleya Plants

     39.     On or about November 29 and 30, 2018, I spoke with

Catherine Caldwell of the California State Parks' Natural

Resources Division, to verify whether KIM, BACK and/or BONG JUN

KIM had permits to collect plants in the associated districts of

Del Norte State Park, Russian Gulch State Park, or other

districts.    Over the following week, I received confirmation

from three Senior Environmental Scientists at the Natural

Resources Division that no scientific permits had been issued to

KIM, BACK and/or BONG JUN KIM.




                                   19
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 21 of 27 Page ID #:21




     40.    On or about December 12, 2018, Aaron Nishimoto, a

Certification Specialist for United States Department of

Agriculture, conducted a search and did not find any federal

permits for KIM, BACK, and BONG JUN KIM to remove native plants.

VI. TRAINING AND EXPERIENCE IN TRAFFICKING OF PLANTS AND WI7~DLIE'E

     41.    Based on my training and experience, and information

provided to me by other experienced SAs, I have learned that

international trafficking of wildlife and plants is often

facilitated using e-mail and/or text messages.        Individuals who

traffic in contraband wildlife and plants frequently correspond

b y phone, email, text message, and social media with their

associates, suppliers, and customers.       This includes sending

photographs of the wildlife and plants and negotiating the

prices and timing of transactions.      These individuals also

maintain telephone numbers, email addresses, and other contact

information for their co-conspirators on their digital devices.

Accordingly, there is probable cause to believe that digital

evidence related to the trafficking of plants in this case will

be found on the SUBJECT DEVICES.

           VII. TRAINING AND EXPERIENCE ON DIGITAI, DEVICES

     42.    As used herein, the term ~~digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony


                                   20
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 22 of 27 Page ID #:22




PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

     43.   Based on my knowledge, training, and experience, as

well as information related to me by agents and others involved

in the forensic examination of digital devices, I know that it

is not always possible to search digital devices for digital

data in a single day or even over several weeks for a number of

reasons, including the following:

           a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.     There are so many types of digital

devices and software programs in use today that it takes time to

conduct a thorough search.     In addition, it may be necessary to

consult with specially trained personnel who have specific

expertise in the type of digital device, operating system, and

software application being searched.

           b.    Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover "hidden," erased,


                                   21
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 23 of 27 Page ID #:23




compressed, encrypted, or password-protected data.        As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

           c.    While, a single megabyte of storage space is the

equivalent of 500 double-spaced pages of text.        A single

gigabyte of storage space, or 1,000 megabytes, is the equivalent

of 500,000 double-spaced pages of text.

           d.   Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet.3

Electronic files saved to a hard drive can be stored for years

with little or no cost.     Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.     Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.      Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.    In addition, a computer's operating

system may also keep a record of deleted data in a swap or



     3 These statements do not generally apply to data stored in
volatile memory such as random-access memory, or ~~RAM," which
data is, generally speaking, deleted once a device is turned
off.

                                   22
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 24 of 27 Page ID #:24




recovery file.      Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.      The browser typically maintains a fixed

amount of hard drive space devoted to these files, and the files

are only overwritten as they are replaced with more recently

downloaded or viewed content.      Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user's operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive

requires specialized tools and a controlled laboratory

environment.     Recovery also can require substantial time.

           e.     Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

devices are, as described further in the attachments, called for

b y this warrant.    Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.     Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has


                                   23
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 25 of 27 Page ID #:25




been deleted from a word processing file).       Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.        Operating

s ystems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.      Computer file systems can

record data about the dates files were created and the sequence

in which they were created.     This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.

           f.   Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.        For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.    Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the


                                   24
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 26 of 27 Page ID #:26




absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

           g.    Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension ~~.jpg" often are image

files; however, a user can easily change the extension to ~~.txt"

to conceal the image and make it appear that the file contains

text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a ~~dongle" or ~~keycard," is necessary to decrypt the data into

readable form.    In addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a

process called ~~steganography."     For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain "booby traps" that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby

traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.      In addition, decryption of

devices and data stored thereon is a constantly evolving field,

and law enforcement agencies continuously develop or acquire new

methods of decryption, even for devices or data that cannot

currently be decrypted.


                                   25
Case 2:19-cr-00329-GW Document 1 Filed 12/19/18 Page 27 of 27 Page ID #:27




     44.    Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                          VIII.CONCZUSION

     45.   For all the reasons described above, there is probable

cause to believe that KIM, BACK, and BONG JUN KIM committed a

violation of 16 U.S.C. ~§ 3372(a)(2)(B), (a)(4) (illegally

attempting to export plants to a foreign country in violation of

a state law or regulation).     Based on the foregoing facts, there

also is probable cause for the issuance of arrest warrants for

KIM, BACK, and BONG JUN KIM.     There also is probable cause to

believe that the items listed in Attachment B, which constitute

evidence, fruits, and instrumentalities of violations of the

Subject Offenses described above, will be found on the SUBJECT

DEVICES described in Attachment A.



                                               ~ ~~~~
                                        LAURA CHEF, Special Agent
                                        United States Fish and
                                        Wildlife Service


Subscr}bed t      sworn before me
this ~1`~a~o~' /c tuber 201



HONORABLD Y~lICHtAEL R. WIENER
UNITED STATES MAGISTRATE JUDGE




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